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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOlS
EASTERN DIVISION

JOSE LUIS REBOLLAR-JACOBO,

an individual, Case No. 15-CV-10153

Plaintiff,
Honorable Charles P. Kocoras
Judge Presiding

V.

SOLUTION MAINTENANCE CORP., an
Illinois corporation, and JOSEPH ROMEO,
an individual,

VVVVVVVVVVV

Defendants.

AGREED ORDER OF DISMISSAL
PURSUANT TO STIPULATED SETTLEMENT

THIS MATTER COMING ON TO BE HEARD UPON STIPULATION FOR
DISMISSAL, the Court being advised in the premises that the parties hereby agree that this case
has been settled and that all issues and controversies have been resolved to their mutual

satisfaction; as follows:

l. This case is dismissed, without prejudice, and all parties shall bear their own
attorney’s fees and costs.

2. Any party may file a motion to enforce the parties’ settlement agreement, or a
motion for additional time to file a motion to enforce the settlement agreement on
or before October l, 2020.

3. In the event that no motion listed in paragraph 2 is filed on or before October l,

2020, the case shall be dismissed with prejudice on the next business day and
without further order of the Court.

AGREED TO:
/s/ Timothy M. Nolan J eo

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One of the attorneys for the Plaintiff For the Defendants §§

 

 

 

